   Case 1:05-cr-00198-CG-M              Doc# 141        Filed 12/17/09        Page 1 of 7          PageID# 445
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                                     (8041)


                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                         V.                               (For Revocation of Supervised Release)
        WILLIAM SHADRICK FINCH

                                                          CASE NUMBER: 1:05-CR-00198-004
                                                          USM NUMBER: 09153-003

THE DEFENDANT:                                             Robert A. Ratliff, Esquire
                                                          Defendant's Attorney


(X) admitted guilt to violation of supervision conditions: Mandatory Condition, 3 & 7 of the petition
dated 10/29/2009.
()      was found in violation of supervision condition(s):
                                                                                           Date violation
Violation Number                                  Nature of Violation                      Occurred
Mandatory Condition                               New Offense                              08/2009
       3                                          Technical
       7                                          Technical


      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Social Security No.: 5972                         December 16, 2009
                                                              Date of Imposition of Judgment
Defendant's Date of Birth: 1967

Defendant's Residence Address:
Mobile, AL                                                    /s/Callie V. S. Granade
                                                              CHIEF UNITED STATES DISTRICT JUDGE

Defendant's Mailing Address:
                                                              December 17, 2009
                                                              Date
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                                                                                                  Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
Defendant: WILLIAM SHADRICK FINCH
Case Number: 1:05-CR-00198-004
                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWELVE (12) MONTHS         .




()      The court makes the following recommendations to the Bureau of Prisons:

(X) The defendant is remanded to the custody of the United States Marshal.
( ) The defendant shall surrender to the United States Marshal for this district:
  ( ) at .m. on .
  ( ) as notified by the United States Marshal.
()      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
  ()      before 2 p.m. on        .
  ()      as notified by the United States Marshal.
  ()      as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:




Defendant delivered on                          to                                     at

with a certified copy of this judgment.
                                                                             UNITED STATES MARSHAL


                                                                       By:
                                                                                       Deputy U.S. Marshal
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                                                                                                   Judgment 3
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: WILLIAM SHADRICK FINCH
Case Number: 1:05-CR-00198-004
                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 24 months

Special Conditions: 1) The defendant shall participate in a program of testing and treatment for drug
and/or alcohol abuse, as directed by the Probation Office; 2) The defendant is prohibited from
making major purchases, incurring new credit charges, or opening additional lines of credit without
approval of the Probation Officer, until such time as the financial obligations imposed by this court
have been satisfied in full; 3) The defendant shall provide the Probation Office access to any requested
financial information; and 4) The defendant shall make restitution as set forth on Sheets 5, Part A &
5, Part B of this Judgment.

         For offenses committed on or after September 13, 1994: The defendant shall refrain from
         any unlawful use of a controlled substance. The defendant shall submit to one drug test
         within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
         as directed by the probation officer.
         ()      The above drug testing condition is suspended based on the court’s determination that the
                 defendant poses a low risk of future substance abuse. (Check, if applicable)

()       The defendant shall register with the state sex offender registration agency in the state where the
         defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable)

()       The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

(X)      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that
the defendant pay any such fine or restitution that remains unpaid at the commencement of the term of
supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment. The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7A).
The defendant shall also comply with the additional conditions on the attached page (if applicable).


                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
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                                                                                                   Judgment 4
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: WILLIAM SHADRICK FINCH
Case Number: 1:05-CR-00198-004
                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
        within the first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
        the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
        or administer any controlled substance or any paraphernalia related to any controlled substances,
        except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
        with any person convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
        by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
        the probation officer to make such notifications and to confirm the defendant's compliance with such
        notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
        applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants
        convicted of qualifying offenses.
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                                                                                                           Judgment 5
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 5 Part A - Criminal Monetary Penalties
Defendant: WILLIAM SHADRICK FINCH
Case Number: 1:05-CR-00198-004

                             CRIMINAL MONETARY PENALTIES
          The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth on Sheet 5, Part B.

                           Assessment                          Fine                      Restitution
         Totals:           $                                   $                         $2,261.00 (less any payments
                                                                                         previously made)


()       The determination of restitution is deferred until     . An Amended Judgment in a Criminal Case (AO 245C) will
         be entered after such a determination.


(X) The defendant shall make restitution (including community restitution) to the following payees in the amounts listed
          below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all non-federal victims must be paid in full prior to the United States
receiving payment.

Name and                             *Total                    Amount of                          Priority Order or
Address of Payee                     Amount of Loss            Restitution Ordered                % of Payment
Drug Enforcement Administration                                $2,261.00
900 Western America Circle, Suite 501
Mobile, Alabama 36609
RE: Case GQ-03-S040
Invoice #s: FH26170-1 & 26170-2
Appropriation #: H1-2003-0426-06167

         TOTALS:                     $                         $2,261.00 (less any payments previously made)

(X) If applicable, restitution amount ordered pursuant to plea agreement. $ 2,261.00
()       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution
is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. § 3612(g).

(X) The court determined that the defendant does not have the ability to pay interest and it is ordered that:
  (X) The interest requirement is waived for the () fine and/or (X) restitution.
  () The interest requirement for the () fine and/or () restitution is modified as follows:


     * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
     States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                            Judgment 6
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 5, Part B - Schedule of Payments
Defendant: WILLIAM SHADRICK FINCH
Case Number: 1:05-CR-00198-004
                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:
    A        (X) Lump sum payment of $ 2,261.00 (less any payments previously made) due immediately,
             balance due () not later than , or (X) in accordance with () C, () D, () E or (X) F
             below; or
    B        () Payment to begin immediately (may be combined with () C, () D, () E or () F below); or
    C        () Payment in       (e.g., equal, weekly, monthly, quarterly) installments of $    over a
             period of      (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date
             of this judgment; or
    D        () Payment in        (e.g., equal, weekly, monthly, quarterly) installments of $         over a
             period of     (e.g., months or years), to commence          (e.g., 30 or 60 days) after release
             from imprisonment to a term of supervision; or
    E        () Payment during the term of supervised release will commence within     (e.g., 30 or 60
             days) after release from imprisonment. The court will set the payment plan based on an
             assessment of the defendant's ability to ay at that time; or
    F        (X)    Special instructions regarding the payment of criminal monetary penalties: : Restitution
    is due immediately and payable in full, and is to be paid through the Clerk, U.S. District Court. If full
    restitution is not immediately paid, any amount owing during a period of incarceration shall be subject to
    payment through the Bureau of Prison's Inmate Financial Responsibility Program. As a special condition
    of supervised release, the Probation Office shall pursue collection of any balance remaining at the time of
    release in installments to commence no later than 30 days after the date of release. If restitution is to be
    paid in installments, the court orders that the defendant make at least minimum monthly payments in the
    amount of $50.00; and further orders that interest shall not accrue on this debt. The defendant is ordered
    to notify the court of any material change in his ability to pay restitution. The Probation Office shall
    request the court to amend any payment schedule, if appropriate.

    Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a
    period of imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment.
    All criminal monetary penalty payments, except those payments made through the Federal Bureau of Prisons'
    Inmate Financial Responsibility Program, are to be made to the clerk of court, unless otherwise directed by the
    court, the probation officer, or the United States attorney.

    The defendant will receive credit for all payments previously made toward any criminal monetary penalties
    imposed.

    (X) Restitution is to be paid jointly and severally with co-defendants as set out in attachment.
    () The defendant shall pay the cost of prosecution.
    () The defendant shall pay the following court cost(s):
    () The defendant shall forfeit the defendant's interest in the following property to the United States:
Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal; (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.
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Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments

Defendant: WILLIAM SHADRICK FINCH                                                    Judgment - Page   5B
Case Number: 1:05-CR-00198-004

ADDITIONAL DEFENDANTS HELD JOINTLY & SEVERALLY LIABLE
       Case Number:                                                                          Joint & Several
(including dft. number)                    Defendant Name:                                   Dollar Amount:
1:05-CR00198-001                           Robert Dwayne Hendrix                             $2,261.00
1:05-CR00198-002                           Karen Annette Young                               $2,261.00
1:05-CR00198-003                           Denise E. Carter                                  $2,261.00
